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                                                  Case: 1:22−mj−00198
                                                  Assigned To : Magistrate Judge Faruqui, Zia M.
                                                  Assign. Date : 9/6/2022
                                                  Description: Complaint w/ Arrest Warrant
                             STATEMENT OF FACTS

        1.      As described herein, a law enforcement investigation has revealed that Defendant
Antoine Hilton (“HILTON”) is involved in the distribution and possession with intent to distribute
multiple controlled substances in Washington, D.C., to include cocaine base, heroin, and fentanyl.
Specifically, the Federal Bureau of Investigation, using an undercover officer (UC), conducted a
series of undercover purchases of controlled substances from HILTON in the vicinity of 14th
Street SE and T Street SE. The investigation revealed that HILTON distributes controlled
substances in and around the intersection of 14th Street SE and T Street SE in Washington, D.C.,
which is in close proximity to an elementary school.

        2.    On June 2, 2022, law enforcement conducted an undercover operation involving
the purchase of controlled substances from HILTON. At approximately 7:30 a.m., law
enforcement observed HILTON exit 1314 T Street SE, Washington, D.C. At approximately 7:54
a.m., the UC contacted HILTON by phone at telephone number (202) 200-7550 (“HILTON
PHONE NUMBER”) to arrange to purchase controlled substances from HILTON. At
approximately 7:54 a.m., HILTON met with the UC at the intersection of 14th Street SE and T
Street SE. The UC provided $200 to HILTON in exchange for two packages of controlled
substances, which law enforcement determined to weigh approximately 0.4 grams and 1.5 grams.

       3.       Following the purchase, law enforcement conducted a field test of the substances
purchased from HILTON, which revealed (1) the presence of heroin, a Schedule I controlled
substance, in the 0.4 gram package purchased from HILTON, and (2) the presence of cocaine base,
a Schedule II controlled substance, in the 1.5 gram package purchased from HILTON.

       4.      On June 13 and 14, 2022, law enforcement conducted another undercover operation
involving the purchase of controlled substances from HILTON. Specifically, on June 13, 2022,
the UC contacted HILTON by text message at the HILTON PHONE NUMBER to arrange to
purchase controlled substances, specifically referred to as a “ball” in exchange for $200, from
HILTON. HILTON responded to the UC with a thumbs up emoji.

        5.     On June 14, 2022, at approximately 7:06 a.m., the UC contacted HILTON by phone
at the HILTON PHONE NUMBER to arrange to purchase controlled substances. At approximately
7:12 a.m., HILTON met with the UC at the intersection of 14th Street SE and T Street SE. The
UC and HILTON discussed the purchase of drugs. HILTON left and then at approximately 7:15
a.m. returned, at which time the UC provided $240 to HILTON in exchange for two packages of
controlled substances, which law enforcement determined to weigh approximately 0.7 grams and
2.5 grams.

       6.     Following the purchase, law enforcement conducted a field test of the substances
purchased from HILTON, which revealed (1) the presence of heroin, a Schedule I controlled
substance, and fentanyl, a Schedule II controlled substance, in the 0.7 gram package purchased
from HILTON, and (2) the presence of cocaine base, a Schedule II controlled substance, in the 2.5
gram package purchased from HILTON.

       7.      On June 22 and 23, 2022, law enforcement conducted another undercover operation
involving the purchase of controlled substances from HILTON. Specifically, on June 22, 2022, at


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approximately 7:30 p.m. and 9:49 p.m., the UC contacted HILTON by phone at the HILTON
PHONE NUMBER to arrange to purchase controlled substances the following day. At
approximately 9:51 p.m., the UC sent a text message to the HILTON PHONE NUMBER to
arrange for the purchase of three “balls” in exchange for “6,” indicating $600. HILTON responded
to the UC with a thumbs up emoji.

       8.      On June 23, 2022, at approximately 7:09 a.m., law enforcement observed HILTON
exit 1314 T Street SE. At approximately 7:13 a.m. and 7:19 a.m., the UC contacted HILTON by
phone the HILTON PHONE NUMBER to arrange to purchase controlled substances. At
approximately 7:21 a.m., HILTON met with the UC at the intersection of 14th Street SE and T
Street SE. The UC provided $600 to HILTON in exchange for two packages of controlled
substances, which law enforcement determined to weigh approximately 2.0 grams and 6.1 grams.

        9.     Following the purchase, law enforcement conducted a field test of the substances
purchased from HILTON, which revealed (1) the presence of cocaine base, a Schedule II
controlled substance, in the 0.7 gram package purchased from HILTON, and (2) the presence of
cocaine base, a Schedule II controlled substance, in the 2.0 gram package purchased from
HILTON.

         10.    In addition, at approximately 6:21 p.m., the UC contacted HILTON by text message
at the HILTON PHONE NUMBER. The UC sent a photograph of the controlled substances, which
the UC had purchased from HILTON earlier that day, on a scale that indicated a total package
weight of 8.3 grams. The UC’s text message indicated that the packages sold by HILTON were “a
little short,” meaning that it was less than the amount that the UC expected HILTON to provide
for the purchase.

        11.     The following day, on June 24, 2022, at approximately 2:37 a.m., the UC received
a text message from HILTON on the HILTON PHONE NUMBER, stating “pull up and I will take
care of you hit me when you ten minutes away” with a flexed biceps emoji and a 100 points symbol
emoji.

       12.     On July 13-15, 2022, law enforcement conducted another undercover operation
involving the purchase of controlled substances from HILTON. On July 13, 2022, at
approximately 6:37 p.m., the UC contacted HILTON by text message at the HILTON PHONE
NUMBER to arrange to purchase controlled substances on July 14, 2022. HILTON responded by
text message and stated that HILTON was out of town in North Carolina but that he would return
to the D.C. area on July 14, 2022. In additional text messages between HILTON (using the
HILTON PHONE NUMBER) and the UC, the UC arranged to purchase controlled substances
from HILTON on Friday, July 15, 2022, in the morning. Specifically, the UC and HILTON
arranged for the UC to purchase “1/4 of hard” (referring to cocaine) from HILTON.

       13.    On July 14, 2022, at approximately 6:55 p.m. and again at 8:07 p.m., the UC
contacted HILTON by phone at the HILTON PHONE NUMBER. During the call, HILTON and
the UC arranged the purchase of controlled substances for Friday morning, July 15, 2022.

       14.  On July 15, 2022, at approximately 6:29 a.m. to 6:36 a.m. the UC called HILTON
on the HILTON PHONE NUMBER, but only reached HILTON’s voicemail. At approximately



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6:45 a.m., the UC contacted HILTON by phone at the HILTON PHONE NUMBER to confirm
the controlled substances purchase for that morning. At approximately 7:12 a.m., HILTON met
with the UC at the intersection of 14th Street SE and T Street SE. The UC provided $800 to
HILTON in exchange for one package of controlled substances, which law enforcement
determined to weigh approximately 16.5 grams.

       15.      Following the purchase, law enforcement conducted a field test of the substance
purchased from HILTON, which revealed the presence of cocaine base, a Schedule II controlled
substance, in the 16.5 gram package purchased from HILTON.

        16.    As described above, between June 2, 2022, and July 15, 2022, the UC
communicated with HILTON at the HILTON PHONE NUMBER, by both telephone calls and text
messages, during which HILTON discussed and arranged for the sale of controlled substances to
the UC. On July 20, 2022, law enforcement received records from T-Mobile, which revealed that
T-Mobile is the service provider for the HILTON PHONE NUMBER. The records further revealed
the account effective date as March 23, 2022, and the name of the listed subscriber of the HILTON
PHONE NUMBER as ANTOINE HILTON, with a listed billing address of 1314 T Street SE,
Apt. 4, Washington, D.C. 20020.

        17.   Each undercover purchase of controlled substances from HILTON described herein
occurred in and around the intersection of 14th Street SE and T Street SE. This intersection is
approximately 700 feet in distance from the Ketcham Elementary School, located at 1919 15th
Street SE, Washington, D.C.

        18.    In summary, the law enforcement investigation has revealed that HILTON
distributed and possessed with the intent to distribute multiple controlled substances including
cocaine base, heroin, and fentanyl, all within close proximity to an elementary school. Thus, your
affiant believes there is probable cause to establish the offenses of 21 U.S.C. §§ 841(a)(1),
841(b)(1)(C) (Cocaine Base); 21 U.S.C. §§ 841(a)(1), 841(b)(1)(C) (Heroin); 21 U.S.C.
§§ 841(a)(1), 841(b)(1)(C) (Fentanyl); and 21 U.S.C. §§ 841(a)(1), 860(a) (Distribution and
Possession with the Intent to Distribute a Controlled Substance in or near School).



                                             _____________________________________
                                             SPECIAL AGENT STEWART CURCIO
                                             FEDERAL BUREAU OF INVESTIGATION


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone on September 6, 2022.
                                                               Zia M. Faruqui
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                                             ___________________________________
                                             HONORABLE ZIA M. FARUQUI
                                             UNITED STATES MAGISTRATE JUDGE




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